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                 4                               UNITED STATES DISTRICT COURT
                 5                                      DISTRICT OF NEVADA
                 6                                                 ***
                 7     DANIELLE L. BROWN,                                  Case No. 2:17-CV-1880 JCM (VCF)
                 8                                         Plaintiff(s),                     ORDER
                 9           v.
               10      GEICO CASUALTY COMPANY,
               11                                        Defendant(s).
               12
               13            Presently before the court are plaintiff Danielle L. Brown and defendant Geico Casualty
               14     Company’s (“Geico”) motions for leave to file a reply in support of their respective motions
               15     in limine. (ECF Nos. 45, 46).
               16            Geico filed seven motions in limine on December 16, 2020. (ECF No. 40). On
               17     December 29, 2020, Brown filed her opposition to four of Geico’s motions in limine. (ECF
               18     No. 44). Geico now moves for leave to reply to Brown’s opposition. (ECF No. 45). Likewise,
               19     Brown filed two motions in limine on December 14, 2020. (ECF Nos. 38, 39). On December
               20     28, 2020, Geico filed its opposition. (ECF Nos. 42, 43). Brown now moves for leave to reply
               21     to Geico’s opposition. (ECF No. 46).
               22            A party must obtain leave of court to file a reply in support of its motion in limine. LR
               23     16-3. Both parties aver that they should each be afforded a reply because their respective
               24     oppositions rely on facts and evidence not addressed in the original motions in limine. (ECF
               25     No. 45 at 2; ECF No. 46 at 2). Neither party opposes the other’s motion so long as the court
               26     grants both motions. (ECF Nos. 47, 48).
               27     ...
               28

James C. Mahan
U.S. District Judge
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                1            Accordingly,
                2            IT IS HEREBY ORDERED, ADJUDGED, and DECREED that Brown and Geico’s
                3     motions (ECF Nos. 45, 46) be, and the same hereby are, GRANTED.
                4            IT IS FURTHER ORDERED THAT any reply shall be filed and served within fourteen
                5     (14) days from the entry of this order and shall not exceed ten (10) pages.
                6            DATED January 11, 2021.
                7                                                 __________________________________________
                                                                  UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                -2-
